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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                      8:13CR314

       vs.
                                                                        ORDER
JOHNNY MARTINEZ,
ANISHA MARTINEZ,
ANTHONY WEINRICH,
MARK PIPER, and
JACKLYNN WALKER,

                      Defendants.

       This matter is before the court on the motion for an extension of time by defendant Jacklynn
Walker (Walker) (Filing No. 68). Walker seeks until November 15, 2013, in which to file pretrial
motions in accordance with the progression order. Walker has filed an affidavit wherein she
consents to the motion and acknowledges she understands the additional time may be excludable
time for the purposes of the Speedy Trial Act (Filing No. 69). The motion will be granted.


       IT IS ORDERED:
       Defendant Walker’s motion for an extension of time (Filing No. 68) is granted.             The
defendant is given until on or before November 15, 2013, in which to file pretrial motions pursuant
to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between October 18, 2013, and November
15, 2013, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reason defendant’s counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 18th day of October, 2013.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
